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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


 METH LAB CLEANUP, LLC,

       Plaintiff,

 v.                                                    Case No: 8:14-cv-3129-T-30TBM

 SPAULDING DECON, LLC and
 LAURA SPAULDING,

       Defendants.



                                         ORDER

       THIS CAUSE is before the Court on the Parties' Opposing Motions for Prevailing

 Party Attorney's Fees (Dkts. 115 and 116) and their respective responses in opposition

 (Dkts. 120 and 121). The Court has reviewed these filings, the record, and the applicable

 law and concludes, for the reasons discussed below, that the motions should be denied.

                              FACTUAL BACKGROUND

       Meth Lab Cleanup, LLC and Spaulding Decon, LLC have been competitors in the

 drug-lab and crime-scene decontamination industry for years. Along with their owners,

 Julie and Joseph Mazzuca for Meth Lab Cleanup and Laura Spaulding for Spaulding

 Decon, they have been opposing litigants for at least six years, beginning in 2010 when

 Meth Lab Cleanup sued Spaulding Decon for copyright infringement. That case, which

 centered on Meth Lab Cleanup’s registered Trademark “Meth Lab Cleanup, LLC,” was

 eventually settled out of court. The agreement settling the case contained twenty
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 paragraphs or “Terms of Agreement,” and the Court previously detailed the relevant

 paragraphs in an earlier summary judgment order. (See Dkt. 104, pp. 2-5). Among them

 was a Florida choice-of-law provision and another provision stating that, should litigation

 to enforce the settlement agreement occur, the prevailing party in that litigation would be

 entitled to attorney’s fees from the non-prevailing party.

        Meth Lab Cleanup filed a second lawsuit, this one, alleging that Spaulding Decon

 and Laura Spaulding violated the settlement agreement (the “Agreement”). In all, the

 complaint contained five counts:

    (1) Count I, alleging that Spaulding urged other industry competitors to file challenges
        to Meth Lab Cleanup’s trademarks in violation of Paragraphs 2 and 13 of the
        Agreement;

    (2) Count II, alleging that Spaulding disparaged Meth Lab Cleanup in violation of
        Paragraphs 2, 7, and 13;

    (3) Count III, alleging that Spaulding used the website                 domain    name
        www.methlabservices.com in violation of Paragraphs 7 and 14;

    (4) Count IV, alleging that Spaulding used the phrase “Meth Lab Cleanup” on
        Spaulding websites and in their metatags in violation of Paragraph 7; and

    (5) Count V, alleging that Spaulding disclosed the terms of the Agreement in violation
        of Paragraph 13.

 (Dkt. 1). Spaulding filed a six-count counterclaim:

    (1) Count I, seeking a declaratory judgment that Spaulding’s use of the phrase “meth
        lab services” did not infringe on Meth Lab Cleanup’s trademarks, statutory or
        common law, or violate the terms of the Agreement;

    (2) Count II, alleging that Meth Lab Cleanup unfairly competed in violation of the
        Lanham Act by asserting that it had exclusive intellectual property rights in the
        phrase “meth lab services” and by making false and derogatory statements about
        Spaulding;



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    (3) Count III, alleging that Meth Lab Cleanup falsely advertised in violation of the
        Lanham Act by operating the website www.floridamethlabcleanup.com and
        otherwise misleading the public into believing it was a Florida company;

    (4) Count IV, alleging that Meth Lab Cleanup disclosed the terms of the Agreement in
        violation of Paragraph 13;

    (5) Count V, alleging that Meth Lab Cleanup violated the Agreement when it threatened
        to sue—and later did sue—Spaulding for its use of the phrase “meth lab cleanup”;
        and

    (6) Count VI, alleging that Meth Lab Cleanup disparaged Spaulding in violation of
        Paragraph 13.

 (Dkt. 32).

        The parties then engaged in aggressive motions practice, which included two

 motions for partial summary judgment from each party. By the end of this motions practice,

 Meth Lab Cleanup had prevailed on Count IV of its complaint, but had lost on Counts III

 and V; Spaulding had lost on Counts II, III, V, and VI of its counterclaim. For each party,

 two counts survived summary judgment—Counts I and II for Meth Lab Cleanup, and

 Counts I and IV for Spaulding. But those four claims were dismissed with prejudice, with

 each party bearing its own fees, as a result of a subsequent settlement agreement and a final

 consent order. (Dkt. 114). The issue of prevailing party attorney’s fees on the previously

 adjudicated claims, however, was not resolved in that settlement agreement.

                                        DISCUSSION

        Now the parties seek an order awarding those fees. Both motions assert that their

 respective party was the prevailing one on the “significant issue” in the litigation. See Dkt.




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 115, p. 4 and Dkt. 116, p. 4 (citing Moritz v. Hoyt Enterprises, Inc., 604 So. 2d 807, 810

 (Fla. 1992)). As discussed below, the Court finds that neither party was.

         Though both the complaint and counterclaim allege disparagement and

 confidentiality breaches, the “significant issue” in this case was the parties’ claims to the

 exclusive use of certain intellectual property. Indeed, copyright infringement was the claim

 in the first lawsuit, and this lawsuit was initiated as a breach of the contract that settled the

 first lawsuit. Meth Lab Cleanup alleged that the Agreement prohibited Spaulding from

 using       the   phrase   “Meth    Lab    Cleanup”      and    the   website     domain     name

 “www.methlabservices.com.” Spaulding alleged that the Agreement did not prohibit these

 uses. Given this procedural history, the Court has no difficulty concluding that, to the

 parties and the Court, this issue was most significant. This conclusion is supported by the

 fact that a count from Meth Lab Cleanup alleging disparagement and a count from

 Spaulding alleging confidentiality breach were among those dismissed by the parties.

         On the significant issue, the claims to intellectual property, the result of the litigation

 is best characterized as a “wash.” See Lasco Enterprises, Inc. v. Kohlbrand, 819 So. 2d

 821, 826-27 (Fla. 5th DCA 2002). On the one hand, Meth Lab Cleanup prevailed on its

 claim that certain uses of the phrase “Meth Lab Cleanup” violated the Agreement—though,

 importantly, not every use. 1 On the other, Meth Lab Cleanup lost on its claim that the

 domain name www.methlabservices.com violated the Agreement. Notably, Spaulding’s



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            Specifically, the Court held that Spaulding’s use of “meth lab cleanup,” in lowercase
 letters, on any website or metadata, did not violate the Agreement. (Dkt. 39, p. 15; Dkt. 70, p. 2).



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 assertion that www.methlabservices.com did not violate the Agreement was central to three

 of its six counterclaims. In short, on the significant issue, the litigation resulted in each

 party achieving some of what it sought from the Court, and with neither party receiving all

 of what it sought. The Court will not award prevailing party attorney’s fees on such a result.

 See Schoenlank v. Schoenlank, 128 So. 3d 118, 121 (Fla. 3d DCA 2013) (in a suit alleging

 breach of settlement agreement, concluding that “when the litigation ends in a tie, with

 each party prevailing in part and losing in part on the significant issues, the trial court is

 well within its discretion to deny attorney’s fees to both parties”) (internal quotation marks

 and citations omitted).

        Under Florida law, “an attorney’s fee award is not required each time there is

 litigation involving a contract providing for prevailing party fees.” KCIN, Inc. v. Canpro

 Investments, Ltd., 675 So. 2d 222, 223 (Fla. 2d DCA 1996). In fact, “courts may determine

 that no prevailing party exists and may decline to award any fees pursuant to a contractual

 provision.” TEC Serv, LLC v. Crabb, 622 F. App’x. 867, 870 (11th Cir. 2015) (citing

 Lasco, 819 So. 2d at 826-27. Ultimately, “[t]he determination of an award of attorney’s

 fees is within the sound discretion of the trial court and will not be disturbed on appeal,

 absent a showing of a clear abuse of that discretion.” Shoenlank, 128 So. 3d at 121 (quoting

 River Bridge Corp. v. Am. Somax Ventures, 76 So. 3d 986, 989 (Fla. 4th DCA 2011)

 (internal citation omitted)).




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        Exercising that discretion, the Court finds that, on the significant issue, the litigation

 ended in a tie, in which case neither party should receive prevailing party attorney’s fees.

 See Shoenlank, 128 So. 3d at 121. 2

        It is therefore ORDERED AND ADJUDGED that:

        1.      Plaintiff/Counter-Defendant Meth Lab Cleanup, LLC and Third-Party

                Defendants Julie and Joseph Mazzuca’s Motion for Prevailing Party

                Attorney’s Fees and Costs (Dkt. 115) is DENIED.

        2.      Defendant/Counter-Claimant/Third-Party Plaintiff Spaulding Decon, LLC’s

                Motion for Prevailing Party Attorney’s Fees and Costs (Dkt. 116) is

                DENIED.

        3.      The Clerk is directed to close this case and terminate any pending motions

                as moot.

        DONE and ORDERED in Tampa, Florida, this 7th day of June, 2016.




 Copies furnished to:
 Counsel/Parties of Record




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         Because of this finding, the Court will not evaluate Meth Lab Cleanup’s contention that
 Spaulding’s claims to attorney’s fees, as it pertains to Meth Lab Cleanup’s complaint, is precluded
 by Spaulding’s having failed to request them in its Answer.



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